                    Exhibit 22
Case 2:23-cv-00071-TRM-JEM Document 221-21 Filed 06/15/24 Page 1 of 4 PageID #:
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6/14/24, 3:23 PM                Advocates for Survivors of Abuse Mail - BP, HA, and SH v. City of Johnson City et al - Discovery Items - May 28



                                                                     Vanessa Baehr-Jones <vanessa@advocatesforsurvivors.com>



  BP, HA, and SH v. City of Johnson City et al - Discovery Items - May 28
  Vanessa Baehr-Jones <vanessa@advocatesforsurvivors.com>                               Wed, Jun 12, 2024 at 12:23 PM
  To: Emily Taylor <etaylor@watsonroach.com>
  Cc: "elizabeth@eko.law" <elizabeth@eko.law>, "heather@hmccivilrights.com" <heather@hmccivilrights.com>,
  "kevin@eko.law" <kevin@eko.law>

     Emily,

     If you received a response to your email to DA Finney on which Plaintiffs' counsel was not copied, please provide it.

     Thanks,
     Vanessa

     On Sat, Jun 1, 2024 at 2:54 PM Vanessa Baehr-Jones <vanessa@advocatesforsurvivors.com> wrote:
      Emily,

       To the extent the DA's office is asserting investigatory privilege over these documents, that privilege has been waived
       by their production. Moreover, “general routine information” about an investigation is “insufficient to justify indefinite
       secrecy.” United States v. Se. Eye Specialists, PLLC, 586 F. Supp. 3d 787, 793 (M.D. Tenn. 2022). Particularly here,
       where B.P. has been waiting five years for her case to be prosecuted, there is no basis to continue to hide her reports
       from the public. Furthermore, I cannot fathom any legitimate reason why publishing her redacted report would in any
       way jeopardize the investigation where there are now images and videos of her rape. Finally, at this point, I have no
       confidence that the DA's office plans to bring indictments in my clients' cases, nor for that matter, in the cases of any of
       the 52+ Williams' sexual assault victims. Again, there are now images and videos of these women's assaults, which
       have been in the possession of the DA's office for over a year, and still no indictments have issued. If Defendants will
       not agree to de-designate these materials, we will bring a motion with the Court.

       -Vanessa

       On Sat, Jun 1, 2024 at 1:17 PM Emily Taylor <etaylor@watsonroach.com> wrote:

          General Finney,


          Below you will find a request I received from counsel for the Plaintiffs’ in the B.P., H.A., and S.H. v. City
          of Johnson City et al case. Plaintiffs’ counsel have asked to file the attached redacted case notes in a
          public filing. Although the documents have been redacted, since they pertain to active and pending
          investigations your office is conducting, I did not want to agree to make these public without approval
          from your office. Please advise on if these should be filed publicly or under seal. I have included
          Plaintiffs’ counsel on this email so they will be informed of your response.


          Thank you,


          Emily Taylor
          Emily C. Taylor
          865-637-1700 (office)
          865-525-2514 (fax)
          etaylor@watsonroach.com



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6/14/24, 3:23 PM                                                                                                                                                                                                         Advocates for Survivors of Abuse Mail - BP, HA, and SH v. City of Johnson City et al - Discovery Items - May 28


               From: Vanessa Baehr-Jones <vanessa@advocatesforsurvivors.com>
               Sent: Friday, May 31, 2024 11:09 PM
               To: Emily Taylor <etaylor@watsonroach.com>
               Cc: Elizabeth Kramer <elizabeth@eko.law>; danny <danny@moorerader.com>; jlakey <jlakey@bpjlaw.com>;
               kberexa <kberexa@fbb.law>; kgrant <kgrant@rswlaw.com>; Ben C. Allen <ballen@fbb.law>; Maria Ashburn
               <mashburn@watsonroach.com>; Kevin Osborne <kevin@eko.law>; Julie Erickson <julie@eko.law>; Sandy Vite
               <sandy@hbm-lawfirm.com>; Andre Greppin <andre@moorerader.com>; L Rufolo <lrufolo@rswlaw.com>;
               Aaron Wells <awells@rswlaw.com>; Erica Russell <erica@hmccivilrights.com>; Linda Oxford
               <linda@eko.law>; Jessica Dowd <jdowd@fbb.law>; Marie Chrisman <mchrisman@bpjlaw.com>; Heather
               Collins <heather@hmccivilrights.com>
               Subject: Re: BP, HA, and SH v. City of Johnson City et al - Discovery Items - May 28


               Emily, We plan to file the attached documents publicly. We have redacted them thoroughly, but please let me know if you see anything I have missed. Thank you, Vanessa On Wed, May 29, 2024 at 12:14 PM




               sophospsmartbannerend




               Emily,



               We plan to file the attached documents publicly. We have redacted them thoroughly, but please let me know if you
               see anything I have missed.



               Thank you,

               Vanessa




          --

          Vanessa Baehr-Jones
          Founding Partner
          Advocates for Survivors of Abuse
          4200 Park Boulevard #413
          Oakland, California 94602
          (510) 500-9634
          www.advocatesforsurvivors.com


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     --

     Vanessa Baehr-Jones
     Founding
        Case Partner
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